Case 2:20-cv-00966-NR Document 70 Filed 07/13/20 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR : Civil Action
PRESIDENT, INC., ef al, :
Plaintiffs,
No.: 2:20-cv-966
Vv.
KATHY BOOCKYVAR, et al,

Defendants. : Judge J. Nicholas Ranjan
DEFENDANT LAWRENCE COUNTY BOARD OF ELECTIONS’ RESPONSE
TO PLAINTIFFS’ MOTION FOR A SPEEDY DECLARATORY
JUDGMENT HEARING AND EXPEDITED DISCOVERY

Defendant Lawrence County Board of Elections (“Lawrence County”) hereby submits this
Response to Plaintiffs’ Motion for a Speedy Declaratory Judgment Hearing and Expedited
Discovery (“Motion”) (ECF No. 6) as follows:

Lawrence County joins in the filing of Defendant Centre County Board of Elections’
Response to Plaintiffs’ Motion for a Speedy Declaratory Judgment Hearing and Expedited
Discovery filed this same date and adopts the arguments and positions stated in said response as
if fully set forth herein as the arguments and positions of Defendant Lawrence County.

Lawrence County does not oppose the accelerated disposition of this case. However,
Plaintiffs’ Proposed Order must be modified to eliminate Plaintiffs’ requested written discovery
to avert the duplicative efforts it places on Defendants. Accordingly, Lawrence County supports

the proposed Order attached to Defendant Center County’s Response to Plaintiffs’ Motion for a

Speedy Declaratory Judgment Hearing and Expedited Discovery.

 
Case 2:20-cv-00966-NR Document 70 Filed 07/13/20 Page 2 of 3

Date: July 13, 2020

Respectfully submitted,

/s/ Thomas W. Leslie

Thomas W. Leslie, Esq.,

County Solicitor

Lawrence County Board of Elections
Atty ID No. 43238

430 Court Street

New Castle, PA 16101
724-656-2150

tleslie@co lawrence.pa.us

 
Case 2:20-cv-00966-NR Document 70 Filed 07/13/20 Page 3 of 3

CERTIFICATE OF SERVICE
l hereby certify that on the 13" day of July, 2020, this document was served via the court’s
electronic filing system upon all counsel of record.
/s/ Thomas W. Leslie
Thomas W, Leslie, Esq.

County Solicitor
Lawrence County Board of Elections

 
